          Case 2:17-cv-01183-RAJ Document 54 Filed 02/20/18 Page 1 of 2




 1                                                                     Hon. Richard A. Jones
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                         UNITED STATES DISTRICT COURT FOR THE
 7                         WESTERN DISTRICT OF WASHINGTON
 8
 9 UNILOC USA, INC. and                          ) Case No.: 2:17-cv-01183-RAJ
   UNILOC LUXEMBOURG, S.A.,                      )
10                                               ) PLAINTIFFS’ NOTICE OF
11          Plaintiffs,                          ) SUPPLEMENTAL AUTHORITY
                                                 )
12         v.                                    )
13                                               )
     BIG FISH GAMES, INC.,                       )
14                                               )
15                 Defendant.                    )

16         Under Local Civil Rule 7(n), Plaintiff Uniloc brings to the Court’s attention
17 relevant authority issued during the past two weeks:
18         1.      Berkheimer v. HP Inc., -- F.3d --, 2018 WL 774096 (Fed. Cir. February
19 8, 2018) (Ex. A);
20         2.      Aatrix Software, Inc., -- F.3d --, 2018 WL 843288 (Fed. Cir. February
21 14, 2018) (Ex. B).
22         Copies of those decisions are attached.
23         As the local civil rule does not permit argument, this notice does not contain
24 any. The Court may, however, wish to request briefing from the parties as to the
25 significance of these decisions on the pending motion to dismiss.
26
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28                                                                     Prince Lobel Tye LLP
       PLAINTIFFS’ NOTICE OF SUPPLEMENTAL                        One International Place, Suite 3700
                                               -1-
                    AUTHORITY                                            Boston, MA 02110
                                                                           617-456-8000
           Case 2:17-cv-01183-RAJ Document 54 Filed 02/20/18 Page 2 of 2




 1           To assist the Court in evaluating whether it wishes further briefing, Uniloc
 2 attaches the blog articles from IP 360 reporting these decisions, and collecting
 3 comments of myriad attorneys (Ex. C).
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 5
     Dated: February 20, 2018                Respectfully submitted,
 6
                                             /s/ James J. Foster
 7
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16                                           Attorneys for Plaintiffs
17
18                                    CERTIFICATE OF SERVICE
19
             I certify that a copy of the above document has been served on February 20,
20
     2018 to all counsel of record who have consented to electronic service via the Court’s
21
     CM/ECF system.
22
23                                           /s/ James J. Foster
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27
28                                                                       Prince Lobel Tye LLP
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